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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY THE OIL RIG   *
“DEEPWATER HORIZON” IN THE        *                        MDL NO. 2179
GULF OF MEXICO, ON APRIL 20, 2010 *
                                  *                        SECTION “J”
THIS PLEADING APPLIES TO:         *
AUGUST WALTER V. BP AMERICA, INC. *                        JUDGE: BARBIER
CIVIL ACTION NOS.:                *
2:12-CV-177 AND 10-MD-2179        *                        MAGISTRATE: SHUSHAN
                                  *
*****************************


                                           ORDER

       Considering the foregoing Ex Parte Motion to Withdraw as Counsel of Record filed by

plaintiff, August Walter:

       IT IS ORDERED that Rachel Martin-Deckelmann be withdrawn as counsel of record for

plaintiff, August Walter, in the above entitled and numbered proceeding.

       New Orleans, Louisiana, this _____ day of July, 2012.



                                            ________________________________
                                            UNITED STATES DISTRICT JUDGE
